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           Exhibit A
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From:                        Lindsey Strasberg
To:                          Imene Mezianel                                              I;Joseph Lanius!
Cc:                          David Weber
Subject:                     Lively - It Ends With Us - CONFIDENTIAL
Date:                        Thursday, November 9, 2023 5:14:20 PM
Attach m ent s:              Lively It Ends With Us Ltr Nov 9 23.CXX:X


Dear lmene and Joseph,
W ith the t entative resolution of t he SAG-AFTRA strike, w e are w rit ing t o address how to handle a
ret urn to t he set of "It Ends W ith Us" (t he "Fil m"). It is no surp rise to t he Fil m's producers that the
experience of shooting t he Film has been deeply concerning on many levels. The complaints of our
client and others have been repeatedly conveyed and well-documented t hroughout pre-product ion
and phot ography.
While we reserve all legal rights, at this st age our cl ient is willing to forego a more forma l HR process
in favor of everyone ret urning t o work and finishing the Film as long as t he set is safe moving
forwa rd. In order for our cl ient t o feel safe returning to the product ion, we are attaching a list of
prot ect ions that will need t o be guaranteed and observed by t he Film's producers. If the product ion
is unw ill ing to accept or uphold t hese protections, our client is prepa red t o pursue her full lega l
rights and remedies.
This letter is not intended t o const it ute a full st at ement of all facts and ci rcumst ances relating to t his
matter. It is not intended to be, nor should it be const rued as, a waiver, release or relinquishment of
any of our cl ient 's rights or remedies, legal or equitable, all of which are hereby expressly reserved.
Sincerely,
Lindsey
LINDSEY STRASBERG, ESQ. I Sloane, Offer, Weber and Dern, LLP



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                                 Protections for Return to Production

In order for Blake Lively (BL) to be able to return to production on the Film, each of the
following protections must be agreed to in writing and met without fail going forward:

       1.      An intimacy coordinator must be present at all times when BL is on set.

       2.      There must be a closed set during the rehearsal or filming of any scene involving
               simulated sex or nudity and any observation via remote monitors shall be restricted
               to essential personnel as approved by BL (to be further described in a fully-
               negotiated, fully-executed, SAG-compliant nudity rider (“Nudity Rider”)).

       3.      There is to be no spontaneous improvising of any scenes involving physical
               touching, simulated sex, or nudity. Scenes involving kissing, depictions of sexual
               intercourse, or any other physical touching must be contained in the screenplay (as
               approved by BL), choreographed in advance in the presence of the intimacy
               coordinator, and may only proceed as choreographed with the consent of all
               participants in advance.

       4.      Physical touching and/or comments on BL’s physical appearance must only be
               done/made in connection with the character and scene work, not as to BL
               personally. Except as written into the screenplay or as strictly required in
               connection with make-up or costume preparation, there is to be no physical
               touching (including hugging) of BL, her on-set personnel and/or her employees.

       5.      There are to be no discussions of personal experiences with sex or nudity, including
               as it relates to conduct with spouses or others.

       6.      No one will enter, attempt to enter, interrupt, pressure, or request entrance to BL’s
               trailer while she is in a state of undress for any reason.

       7.      There shall be no rehearsal or filming of any nudity and/or simulated sex without
               the Nudity Rider in place. Any such footage previously shot without the Nudity
               Rider in place, and in direct violation of SAG requirements, may not be used
               without BL’s and her legal representatives’ prior, written consent.

       8.      BL may have a representative of her choosing present with her on set for the
               remainder of the rehearsal and shooting days, including while on a closed set.

       9.      If BL is exposed to COVID-19, she must be provided notice as soon as possible
               after Wayfarer or any producer or production executive becomes aware of such
               exposure.

       10.     There shall be no retaliation of any kind against BL for raising concerns about the
               conduct described in this letter or for these requirements. Any changes in attitude,
               sarcasm, marginalization or other negative behavior, either on set or otherwise,
               including during publicity and promotional work, as a result of these requests is
               retaliatory and unacceptable, and will be met with immediate action.
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11.   Sony must have a mutually-approved representative on set for the remainder of the
      rehearsal and shooting days, including on a closed set, to actively supervise the
      production, including monitoring the safety of the cast and crew, ensuring
      compliance with the schedule and overseeing logistics, problem solving and
      creative issues.

12.   Wayfarer will engage an additional, experienced A-level producer, approved by
      Ms. Lively, to actively supervise the production, including monitoring the safety of
      the cast and crew, ensuring compliance with the schedule and overseeing logistics,
      problem solving and creative issues.

13.   Wayfarer must empower any existing third party producer with appropriate and
      customary authority to actively supervise the production, including monitoring the
      safety of the cast and crew, ensuring compliance with the schedule and overseeing
      logistics, problem solving and creative issues.

14.   Wayfarer will engage an A-list stunt double, approved by Ms. Lively, to rehearse
      and perform any scenes involving the character “Lily” that depicts rape or any act
      of sexual violence. Ms. Lively will only perform close-up work or other pre-
      approved shots for such scenes.

15.   Any rehearsal or shooting involving Ms. Lively, or any other performer depicting
      the character of “Lily,” that involves nudity (including partial nudity) or simulated
      sex must be conducted strictly in accordance with the Nudity Rider and must adhere
      to the approved script.

16.   Any and all day players must be engaged through customary industry talent
      agencies and not through personal connections of the director and/or producer.

17.   Hold an all-hands, in-person meeting before production resumes which will include
      the director, all producers, the Sony representative, the newly-engaged third party
      producer, BL and BL’s designated representatives to confirm and approve a plan
      for implementation of the above that will be adhered to for the physical and
      emotional safety of BL, her employees and all the cast and crew moving forward.
